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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 CAROLYN PLACHT, on behalf of the
 Symbria Inc. Employee Stock Ownership
 Plan and on behalf of a class of all other
 persons similarly situated,

                        Plaintiff,

 v.

 ARGENT TRUST COMPANY,
 JILL KRUEGER,
 THOMAS NOESEN, JR.,
 JOHN R. CALLEN,
 CENTRAL BAPTIST VILLAGE,                             Case No. 1:21-cv-05783
 COVENANT RETIREMENT
 COMMUNITIES, INC.,                                   Hon. Ronald A. Guzman
 FRANCISCAN SISTERS OF CHICAGO
 SERVICE CORPORATION,                                 Hon. Beth W. Jantz
 LIFELINK CORPORATION,
 LUTHERAN HOME AND SERVICES
 FOR THE AGED, INC.,
 MATHER LIFEWAYS,
 NORWEGIAN LUTHERAN BETHESDA
 HOME ASSOCIATION,
 NORWOOD LIFE CARE FOUNDATION,
 FRIENDSHIP SENIOR OPTIONS, NFP,
 REST HAVEN ILLIANA CHRISTIAN
 CONVALESCENT HOME,
 ST. PAULS HOUSE & HEALTHCARE
 CENTER, and
 UNITED METHODIST HOMES &
 SERVICES,

                        Defendants.



                        JOINT STATUS REPORT ON DISCOVERY

        In accordance with the Court’s February 28, 2022 minute entry (Dkt. 49), Plaintiff Carolyn

Placht, on behalf of the Symbria Inc. Employee Stock Ownership Plan, and similarly situated

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participants in the Plan and their beneficiaries (“Plaintiff”), and Defendants Argent Trust Company

(“Argent”), Jill Krueger (“Kreuger”), Thomas Noesen, Jr. (“Noesen”), John R. Callen (“Callen”),

Central Baptist Village, Covenant Retirement Communities, Inc., Franciscan Sisters of Chicago

Service Corporation, LifeLink Corporation, Lutheran Home and Services for the Aged, Inc.,

Mather Lifeways, Norwegian Lutheran Bethesda Home Association, Norwood Life Care

Foundation, Friendship Senior Options, NFP, Rest Haven Illiana Christian Convalescent Home,

St. Paul’s House & Healthcare Center, and United Methodist Homes & Services (the “Community

Defendants” and together with Argent. Krueger, Noesen, and Callen the “Defendants”), submit

the following joint status report on discovery:

   I.      Status of Written Discovery

        A. Plaintiff’s Written Discovery

        Plaintiff issued requests for production of documents (“Plaintiff’s RFPD”) to Defendants

on February 22, 2022.

        Argent responded and interposed objections to Plaintiff’s RFPD on March 24, 2022.

Plaintiff addressed some of Argent’s objections in an April 22, 2022 letter and Plaintiff’s counsel

and Argent’s counsel conferred regarding Argent’s objections on May 10, 2022. The only

outstanding issue following that conferral is whether Argent will produce valuation reports after

2018. Argent produced 77 documents on May 9, 2022. Argent has not stated when it will complete

its production of documents. Plaintiff may seek court intervention if Argent does not complete its

production of responsive documents by June 17, 2022.

        The Community Defendants responded and interposed objections to Plaintiff’s RFPD on

March 24, 2022. Plaintiff’s counsel and the Community Defendants’ counsel conferred on April

6, 2022 regarding a potential protocol for search and production. Plaintiff sent a proposal for search



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and production of documents and addressed some of the Community Defendants’ objections in an

April 22, 2022 letter. Plaintiff’s counsel and Community Defendants’ counsel conferred on May

17, 2022 regarding Plaintiff’s April 22 letter. The Community Defendants’ current proposal is: (i)

that they will search for and produce responsive documents, other than e-mails, for all twelve

Community Defendants, which they are currently diligently collecting and reviewing, and will

make an initial production on May 31 with the goal of trying to complete production by the end of

June, but are not able at this time to provide a date certain by which they will be able to fully

complete production; (ii) they will first search for and produce responsive e-mails and attachments

for four of the Community Defendants identified by Plaintiff and will complete that process by the

end of June 2022; and (iii) to the extent the remaining Community Defendants have responsive e-

mails that are not duplicative of emails already produced by the other Community Defendants, the

parties will then confer regarding how and when those e-mail searches will be completed. Plaintiff

is considering the Community Defendants’ May 17 proposal but will likely insist on a June 30,

2022 deadline for the Community Defendants to complete their productions.

       Krueger and Noesen responded and interposed objections to Plaintiff’s RFPD on March

24, 2022. Plaintiff addressed some of Krueger and Noesen’s objections in an April 22, 2022 letter

and Plaintiff’s counsel and Krueger and Noesen’s counsel conferred on April 28, 2022. Krueger

and Noesen (together with non-party Symbria) made a first production of documents on May 10,

2022. Krueger and Noesen (together with non-party Symbria) have set a goal of completing

production by June 30, 2022, with a privilege log to follow.

       Callen responded and interposed objections to Plaintiff’s RFPD on March 25, 2022.

Plaintiff addressed some of Callen’s objections in an April 22, 2022 letter and Plaintiff’s counsel

and Callen’s counsel conferred on May 17, 2022. Callen’s counsel stated that Mr. Callen will not



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have many responsive documents in his custody or control but the parties are working together to

search for and produce any documents.

       Plaintiff issued document subpoenas on the following non parties with April 4, 2022 return

dates: (1) Houlihan Lokey; (2) McDermott, Will & Emery, LLP (“MWE”); (3) Pendo Advisors,

LLC (“Pendo”); (4) Stout Risius Ross, LLC (“Stout”); (5) Symbria, Inc.; and (6) Verit Advisors.

       Houlihan Lokey produced one responsive document on March 28, 2022. On May 18, 2022,

Houlihan Lokey produced additional documents for processing.

       MWE served responses and objections and produced 109 documents on May 16, 2022.

MWE has stated it believes it has produced all responsive, nonprivileged documents in its

possession, custody, or control. Plaintiff will need to review the documents, produced this week,

to evaluate whether MWE’s statement that its production is complete.

       Pendo served responses and objections on April 18, 2022. Plaintiff addressed some of

Pendo’s objections in an April 22, 2022 letter and Plaintiff’s counsel and Pendo’s counsel

conferred on May 2, 2022. Pendo produced 209 documents on May 4, 2022 and stated e-mails

would be produced shortly thereafter. On May 18, 2022, Pendo stated it would produce responsive

e-mails the week of May 23.

       Stout served responses and objections on May 16, 2022 and stated it would make an initial

production of documents by May 31, 2022. Stout has not stated when it expects to complete its

document production. Plaintiff may seek court intervention if Stout does not complete its

production of responsive documents by June 30, 2022.

       Symbria served responses and objections on May 10, 2022. Symbria made a first

production of documents on May 10, 2022 (together with Krueger and Noesen).. Symbria (together




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with Krueger and Noesen) have set a goal of completing production by June 30, 2022, with a

privilege log to follow.

         Verit produced four (4) documents on April 12, 2022 and stated it destroyed all other

potentially responsive documents based on its document retention policy.

         Based on the documents recently produced, Plaintiff intends to issue a document subpoena

on Prairie Capital Advisors, a non party who was not disclosed in any of the Defendants Rule

26(a)(1) disclosures.

         B. Defendants’ Written Discovery

         Defendants issued interrogatories (“Defendants’ Interrogatories”), requests for production

of documents (“Defendants’ RFPD”), and requests for admission (“Defendants’ Written

Discovery”) to Plaintiff on March 21, 2022. Plaintiff responded and interposed objections to

Defendants’ Written Discovery on April 20, 2022. Plaintiff produced responsive documents on

May 9, 2022. Argent addressed some of Plaintiff’s objections and responses in a May 10, 2022

letter and Plaintiff’s counsel and Argent’s counsel are scheduled to confer on May 20, 2022.

Subject to the May 20 conference, Plaintiff considers her production of documents complete.

   II.      Parties’ Plans for Taking Depositions

         A. Plaintiff’s Deposition Plan

         As described above, Plaintiff has not received most of the documents that will be produced

by Defendants and non parties. Therefore, the following list is subject to change based on

Plaintiff’s review of the documents, but Plaintiff currently intends to depose the following

individuals or entities: (1) a Rule 30(b)(6) deposition of Argent; (2) a Rule 30(b)(6) deposition of

Stout; (3) Bill Merten (MWE); (4) Krueger; (5) Noesen; (6) Callen; (7) a Rule 30(b)(6) deposition

of Symbria; (8) a Rule 30(b)(6) deposition of Central Baptist Village; (9) a Rule 30(b)(6)



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deposition of Covenant Retirement Communities, Inc.; (10) a Rule 30(b)(6) deposition of

Franciscan Sisters of Chicago Service Corporation; (11) a Rule 30(b)(6) deposition of LifeLink

Corporation; (12) a Rule 30(b)(6) deposition of Lutheran Home and Services for the Aged, Inc.;

(13) a Rule 30(b)(6) deposition of Mather Lifeways; (14) a Rule 30(b)(6) deposition of Norwegian

Lutheran Bethesda Home Association; (15) a Rule 30(b)(6) deposition of Norwood Life Care

Foundation; (16) a Rule 30(b)(6) deposition of Friendship Senior Options, NFP; (17) a Rule

30(b)(6) deposition of Rest Haven Illiana Christian; (18) a Rule 30(b)(6) deposition of n

Convalescent Home; (19) a Rule 30(b)(6) deposition of St. Paul’s House & Healthcare Center;

(20) a Rule 30(b)(6) deposition of United Methodist Homes & Services; (21) a Rule 30(b)(6)

deposition of Verit Advisors; (22) a Rule 30(b)(6) deposition of Pendo Advisors; (23) a Rule

30(b)(6) deposition of Prairie Capital Advisors; (24) a Rule 30(b)(6) deposition of The Washington

and Jane Smith Home. Plaintiff will need to request additional depositions in this case given the

number of current defendants and non parties with critical information.

       Fact discovery is currently scheduled to close on December 5, 2022. Based on current

document production and estimates, it does not appear that Defendants and non parties will

complete production until June 30, 2022 at the earliest. Plaintiff will then need time to review and

potentially meet and confer and move to compel if there are any disagreements about the

documents produced.       If those timelines generally hold, Plaintiff expects to begin taking

depositions in September to complete them by December 5, 2022.

       B. Defendants’ Deposition Plan

       Defendants intend to depose Plaintiff Carolyn Placht, and will coordinate with Plaintiff’s

counsel to do so prior to the filing of any motion for class certification. At this time, Defendants

also reserve the right to depose the individuals and entities listed in Plaintiff’s Deposition Plan.



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Dated:   May 19, 2022                      Respectfully submitted,
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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 19th day of May 2022, a copy of the foregoing document was

served on all counsel of record via ECF.

                                                   /s/ Patrick O. Muench
                                                   Patrick O. Muench
